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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 In re:                                                      Chapter 11

 BED BATH & BEYOND INC., et al.,                             Case No. 23-13359 (VFP)

                           Debtors.                          (Jointly Administered)

                       LIMITED OBJECTION OF IMI HUNTSVILLE LLC
                              TO PROPOSED CURE AMOUNT

          IMI Huntsville LLC (aka Bridge Street Town Centre (“BSTC”)), by and through its

 undersigned counsel, files this Limited Objection to Proposed Cure Amount reflected in the

 Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired Leases

 [Docket No. 714]. In support of this Limited Objection, BSTC respectfully states as follows:

                                                   BACKGROUND

          1.      BSTC and Bed Bath & Beyond Inc. (“BB&B”) are parties to an unexpired lease

 of nonresidential real property (the “Lease”) of the premises (the “Premises”) located at and

 commonly known as Bridge Street Town Centre in Huntsville, Alabama.

          2.      The Lease is a lease “of real property in a shopping center” within the meaning of

 section 365(b)(3) of the Bankruptcy Code.
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         3.     On April 23, 2023 (the “Petition Date”), BB&B and its referenced affiliated

 debtors (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title

 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and thereby

 commenced chapter 11 cases in the United States Bankruptcy Court for the District of New

 Jersey (the “Court”). No request has been made for the appointment of a trustee or examiner,

 and the Debtors continue to operate their business as debtors-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.

         4.     On December June 13, 2023 the Debtors filed the Notice to Contract Parties to

 Potentially Assumed Executory Contracts and Unexpired Leases (the “Notice”) that includes the

 Lease, on Exhibit A, as a lease that may be assumed and assigned in connection with a proposed

 sale.

                                       CURE OBJECTION

         5.     In the Notice, the Debtors’ proposed amount to cure monetary defaults under the

 Lease is $19,892.14 (the “Proposed Cure Amount”).

         6.     The Proposed Cure Amount is not, however, the correct amount necessary to cure

 the existing monetary defaults under the Lease. The correct cure amount is $59,145.30 (the

 “Correct Cure Amount”). The discrepancy between the Proposed Cure Amount and the Correct

 Cure Amount appears to stem, in large part, from the fact the Proposed Cure Amount does not

 reflect the 2022 Year-End tax reconciliation adjustment for which on April 28, 2023 BSTC

 properly billed the Debtors under the express terms of the Lease and, as such, for which the

 Debtors are liable.

         7.     Accordingly, BSTC does not consent to the Proposed Cure Amount and objects to

 any assumption and assignment of the Lease that does not provide for and/or pay the Correct

 Cure Amount in full.


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        8.      With respect to the Correct Cure Amount, and any post-petition amounts due

 under the Lease, BSTC hereby reserves the right to collect all year-end adjustments or other

 amounts that are due and payable under the Lease, regardless of its accrual or billing date, and

 amounts not yet known as of the date of this Limited Objection. Because some of these charges

 are payable in arrears, the amounts due cannot be calculated at this time. Nevertheless, the

 Debtors and/or the eventual assignee will continue to be liable for all such charges as and when

 they come due under the Lease.

        9.      BSTC is also entitled to recover attorneys’ fees and costs incurred with respect to

 the enforcement of the Lease. As a result, BSTC hereby also reserves the right to seek payment

 of such fees and expenses.

                                            JOINDER

        10.     BSTC hereby also joins in the objections to the Debtors’ requested relief filed by

 other landlords and parties-in-interest to the extent they are not inconsistent with this Limited

 Objection.

                                  RESERVATION OF RIGHTS

        11.     BSTC also hereby reserves all of its rights to supplement, modify or amend this

 Limited Objection and make such other and further objections to any proposed assumption and

 assignment of the Lease until such time as a final order is entered approving the Correct Cure

 Amount with respect to the Lease. Nothing set forth herein shall constitute a waiver, discharge

 or disallowance of any and all rights, claims, causes of action and defenses that BSTC has

 asserted, or may assert, with respect to any of proof of claim against the Debtors. In addition,

 nothing set forth herein shall be construed as a waiver, release, discharge or disallowance of any

 and all administrative claims of BSTC against the Debtors.




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          WHEREFORE, BSTC respectfully requests that this Court enter an order (i) reserving

 BSTC’s rights to all appropriate cure amounts; and (ii) granting such other and further relief as

 this Court deems just and proper.

 Dated: June 20, 2023

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Limited Objection to Proposed Cure Amount
 was served this 20th day of June, 2023 electronically in accordance with the method established
 under this Court's CM/ECF Administrative Procedures upon all parties in the electronic filing
 system in this case


                                          /s/ Jeremy M. Campana


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